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                                UNITED STATES DISTRICT COURT

                                  SOUTHERN DISTRICT OF OHIO

                                         EASTERN DIVISION

  In re FIRSTENERGY CORP. SECURITIES            )   No. 2:20-cv-03785-ALM-KAJ
  LITIGATION                                    )
                                                )   CLASS ACTION
                                                )
  This Document Relates To:                     )   Judge Algenon L. Marbley
                                                )   Magistrate Judge Kimberly A. Jolson
           ALL ACTIONS.                         )
                                                )

  MFS Series Trust I, et al.,                   )   Case No. 2:21-cv-05839-ALM-KAJ
                                                )
                         Plaintiff,             )
                                                )
           vs.                                  )
                                                )
  FirstEnergy Corp., et al.,                    )
                                                )
                         Defendant.
                                                )
                                                )
  Brighthouse Funds Trust II – MFS Value        )   Case No. 2:22-cv-00865-ALM-KAJ
  Portfolio, et al.,                            )
                                                )
                         Plaintiff(s),          )
                                                )
           vs.                                  )
                                                )
  FirstEnergy Corp., et al.,                    )
                                                )
                         Defendant.
                                                )
                                                )

     MEMORANDUM OF LAW IN SUPPORT OF THE MOVING PARTIES’ MOTION TO
    COMPEL DISCOVERY REGARDING FIRSTENERGY’S INTERNAL INVESTIGATION
                                              [REDACTED]



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           A.        FirstEnergy Cannot Meet Its Burden .....................................................................12

          As the party asserting attorney-client privilege, FirstEnergy bears the burden of not only
  establishing the existence of the privilege, but also that it has not waived the protection. United
  States v. Dakota, 197 F.3d 821, 825 (6th Cir. 1999); Reed v. Baxter, 134 F.3d 351, 355-56 (6th Cir.
  1998) (enumerating privilege elements, including element of nonwaiver). FirstEnergy has failed to
  meet its burden.

           B.        The Primary Purposes of FirstEnergy’s Internal Investigation Were
                      Business-Related ....................................................................................................13

          FirstEnergy’s internal investigation was primarily conducted for business purposes, which
  are not afforded protection under the attorney-client privilege or the work-product doctrine. “To be
  privileged, the communication must have the ‘primary purpose of soliciting legal, rather than
  business advice.”’ Zigler v. Allstate Ins. Co., 2007 WL 1087607, at *1 (N.D. Ohio Apr. 9, 2007).
  Here, the primary business purposes of the internal investigation were to: (1) assuage PwC in
  connection with the Company’s required SEC filings, and evaluate the effectiveness of the
  Company’s internal controls; (2) gather facts to make human-resources decisions (including the
  retention or termination of employees); (3) protect FirstEnergy’s access to outside capital at
  manageable rates; and (4) gather facts to use as a bargaining chip with the government. FirstEnergy
  has not met its burden of establishing that the primary purpose of its investigation was anything
  other than business in nature.
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           C.        FirstEnergy’s Nearly Complete Disclosure of Its Internal Investigation
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          “Attorney-client privilege is not absolute, and ‘if a client wishes to preserve the privilege, it
  must treat the confidentiality of attorney-client communications like jewels – if not crown jewels. ’”
  LifeBio, Inc. v. Eva Garland Consulting, LLC, 2023 WL 3258586, at *3 (S.D. Ohio May 4, 2023).
  Reflecting this overarching principle, “[a]s a general rule, the ‘attorney-client privilege is waived by
  voluntary disclosure of private communications by an individual or corporation to third parties.”’ In
  re Columbia/HCA Healthcare Corp. Billing Practices Litig., 293 F.3d 289, 294 (6th Cir. 2002).
  Waiver of work-product protection occurs when “the original disclosure . . . [is] to an ‘adversary.”’
  Id. at 306 n.28. Accordingly, even if information relating to FirstEnergy’s internal investigation
  were privileged or otherwise protected, FirstEnergy waived those protections by disclosing facts
  concerning the internal investigation to numerous third parties.

                      1.    FirstEnergy’s Disclosures to PwC Waived Any Protections .....................19

         FirstEnergy’s nearly complete disclosure of the internal investigation to its outside auditor
  undermines both attorney-client privilege and the work-product protection. First Horizon Nat’l
  Corp. v. Houston Cas. Co., 2016 WL 5867268, at *10 (W.D. Tenn. Oct. 5, 2016); In re King
  Pharm., Inc. Sec. Litig., 2005 WL 8142328, at *3 (E.D. Tenn. Sept. 21, 2005). “[A]ny information
  provided to [PwC] cannot have been furnished ‘in anticipation of litigation’ but was furnished to
  [PwC] in its capacity as an outside auditor.” First Horizon, 2016 WL 5867268, at *10. The fact that
  FirstEnergy not only failed to properly safeguard the purportedly privileged material, but instead
  voluntarily revealed that material to PwC, eviscerates any possible protection FirstEnergy had
  concerning the internal investigation.

                      2.    FirstEnergy’s Additional Disclosures in This Litigation Waived
                             Any Protections Related to the Internal Investigation ...............................20

          Testimony scripts created by counsel and produced by FirstEnergy in this litigation revealed
  extensive information from its internal investigation, including apparent quotes from investigative
  materials and witness interviews, numerous facts, and most importantly, the lawyers’ ultimate
  conclusions and inferences regarding employees’ intent, knowledge, candor, and violations of
  corporate policy. Revealing “examples” of supposedly privileged information is the antithesis of
  treating such information “‘like jewels—if not crown jewels.’” LifeBio, 2023 WL 3258586, at *3.
  FirstEnergy’s numerous disclosures eliminate any possible nonwaiver argument; see also
  Columbia/HCA Healthcare, 293 F.3d at 302 (“we reject the concept of selective waiver, in any of its
  various forms”); United States v. Paulus, 2021 WL 4494607, at *4 (E.D. Ky. Sept. 30, 2021)
  (“[Third-party’s] partial disclosure of the consultant’s findings waives any privilege to those findings
  and necessitates disclosure of the balance of the findings.”).




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          FirstEnergy’s counsel has not only provided contradictory instructions to deponents during
  the course of depositions, but have wrongly claimed that facts conveyed by counsel are privileged.
  ‘“[W]hen an attorney conveys to his client facts acquired from other persons or sources, those facts
  are not privileged.”’ Antoine v. Atlas Turner, Inc., 66 F.3d 105, 110 (6th Cir. 1995). The
  arbitrariness of what FirstEnergy has revealed and what it has withheld, both during depositions and
  through the meet-and-confer process, demonstrates the implausibility of its privilege assertions.

           D.        Having Wielded the Internal Investigation as a Sword, FirstEnergy Cannot
                      Now Shield It from Discovery ...............................................................................25

          “‘[L]itigants cannot hide behind the privilege if they are relying on privileged
  communications to make their case’ or, more simply, cannot use the privilege as ‘a shield and a
  sword.’” In re United Shore Fin. Servs., 2018 WL 2283893, at *2 (6th Cir. Jan. 3, 2018) (quoting In
  re Lott, 424 F.3d 446, 452–53 (6th Cir. 2005)). Yet, FirstEnergy is attempting to do exactly that.
  “When a party reveals privileged communications or otherwise waives the protections of the
  attorney-client privilege, ‘that party waives the privilege as to all communications on the same
  subject matter.’” Mooney ex rel. Mooney v. Wallace, 2006 WL 8434638, at *8 (W.D. Tenn. July 12,
  2006) (quoting United States v. Skeddle, 989 F. Supp. 905, 908 (N.D. Ohio 1997)). Accordingly,
  any attorney-client privilege concerning the subject matter is waived in its entirety. See, e.g.,
  Crestwood Farm Bloodstock LLC v. Everest Stables Inc., 2011 WL 13156795, at *3 (E.D. Ky. Jan.
  25, 2011) (where plaintiff’s attorney had obtained information only from plaintiff regarding whether
  agreement permitted an exception, plaintiff could not rely on that information “without opening
  discovery on other communications to and from [the attorney] on the [exception issue],” as the
  situation “present[ed] the classic sword and shield privilege metaphor”) (citing Lott, 424 F.3d at
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           Lead Plaintiff Los Angeles County Employees Retirement Association and Plaintiffs

  Amalgamated Bank, as Trustee for the LongView LargeCap 500 Index Fund, LongView

  Quantitative LargeCap Fund, LongView Broad Market 3000 Index Fund, LongView LargeCap 500

  Index Fund VEBA, LV LargeCap 1000 Value Index Fund, LongView Quantitative MidCap Fund,

  LongView Quant LargeCap Equity VEBA Fund and LongView Core Plus Fixed Income Fund, City

  of Irving Supplemental Benefit Plan, and Wisconsin Laborers’ Pension Fund, as well as Direct

  Action Plaintiffs (collectively, the “Plaintiffs”), together with defendants Michael J. Dowling

  (“Dowling”) and Charles E. Jones (“Jones”) (collectively, the “Moving Parties”),1 respectfully

  submit this memorandum of law in support of their Motion to Compel Discovery Regarding

  FirstEnergy’s Internal Investigation.2

           I.         INTRODUCTION

           In July 2020, FirstEnergy Corp. (“FirstEnergy” or the “Company”) commenced an internal

  investigation into the matters raised in the Criminal Complaint and supporting 80-page affidavit,

  primarily for business, not legal, purposes.3 FirstEnergy has strategically alternated between sharing


  1
      Pursuant to the Court’s Order (ECF 474) and as agreed by the parties to be the most efficient
  way to present their privilege disputes (ECF 473), Mr. Jones and Mr. Dowling join in this
  consolidated omnibus motion’s requests for relief and the substantive legal arguments in this
  supporting memorandum only. Mr. Jones and Mr. Dowling do not adopt the factual assertions in
  this memorandum.
  2
      “Direct Action Plaintiffs” consist of Plaintiffs in MFS Series Trust I, et al. v. FirstEnergy Corp.,
  et al., No. 2:21-cv-05839-ALM-KAJ, and Brighthouse Funds Trust II – MFS Value Portfolio, et al.
  v. FirstEnergy Corp., et al., No. 2:22-cv-00865-ALM-KAJ. Counsel for Jones and Dowling and
  Direct Action Plaintiffs continue in good faith the meet-and-confer process with counsel for
  FirstEnergy as it pertains to deficiencies with FirstEnergy’s privilege logs along with other related
  privilege issues. Pursuant to the Court’s prior Order (ECF 474), since those meet-and-confers have
  not yet concluded, counsel for Jones and Dowling and Direct Action Plaintiffs do not raise those
  issues herein and hereby reserve their right to bring these disputes to the Court pursuant to the
  Court’s established joint status report protocol (ECF 333), to the extent necessary should the meet-
  and-confer process with counsel for FirstEnergy conclude with ongoing disputes.
  3
     See Defendant Donald R. Schneider’s Reply in Support of Motion to Dismiss (“MTD Reply”),
  Ex. A (United States v. Householder, No. 1:20-cr-00077, Affidavit in Support of a Criminal
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  or withholding information concerning that investigation. When it needed its external auditor’s

  imprimatur for the Company’s SEC Form 10-Q filing in August 2020, FirstEnergy revealed to

  PricewaterhouseCoopers LLP (“PwC”) virtually everything from the internal investigation –

  including interview memoranda and mental impressions about the reliability of its executives. When

  FirstEnergy sought a deal with the government to resolve the criminal proceedings, the Company

  assured the government it had conducted a thorough internal investigation and agreed to disclose any

  information the government requested. And when it wanted to portray itself as a good corporate

  citizen cleaning house, FirstEnergy publicly disclosed facts and conclusions from its internal

  investigation to proclaim Company policies were violated and bad actors eliminated. And in this

  litigation, FirstEnergy has drawn from its internal investigation to partially inculpate Jones and

  Dowling while attempting to partially exculpate itself and others by asserting the purported absence

  of any evidence against others at the Company.

           At bottom, FirstEnergy’s varied privilege and work-product assertions regarding its internal

  investigation fail because it cannot meet its burden of establishing that these protections apply and

  have not been waived. Rather than exclusively or primarily seeking legal advice or preparing for

  litigation, FirstEnergy conducted its internal investigation primarily for business purposes. Indeed,

  in light of the nature of the issues addressed in the investigation, FirstEnergy’s statements

  concerning the investigation, and the Company’s course of conduct, it is clear FirstEnergy would

  have conducted the investigation for business reasons regardless of actual or potential legal

  proceedings. For this and other reasons, information relating to or purportedly uncovered during the

  internal investigation is not protected by the attorney-client privilege or the work-product doctrine.

  Even if that information had been protected, FirstEnergy repeatedly waived any protections through


  Complaint, ECF 5 (“Criminal Complaint”) (S.D. Ohio July 21, 2020)), ECF 192-2 at PageID 4344-
  425.

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  its many deliberate disclosures and affirmative uses of information and conclusions from the

  investigation, including by freely revealing critical aspects of the internal investigation to third

  parties and the public. Accordingly, as set forth below, the Moving Parties respectfully request that

  the Court enter an order holding: (1) FirstEnergy’s internal investigation is not entitled to attorney-

  client privilege or work-product protections in the first place; (2) even if FirstEnergy’s internal

  investigation had been entitled to any such protections, FirstEnergy has waived them; and

  (3) FirstEnergy must produce all previously withheld documents, witnesses must answer all

  questions (past and future) related to the internal investigation, and FirstEnergy must withdraw all

  asserted protections that are reflected in PwC’s document productions.

           II.        RELEVANT FACTS

                      A.   Underlying Criminal Allegations and Convictions

           The Court is well aware of the underlying facts here, and the Moving Parties will not belabor

  the relevant criminal allegations, guilty pleas, and recent guilty verdicts, other than: (1) to remind the

  Court of the exceptionally detailed Criminal Complaint that the government unsealed on July 21,

  2020; and (2) to highlight the striking parallels between the Criminal Complaint and the Statement of

  Facts that FirstEnergy admitted as part of its Deferred Prosecution Agreement (“DPA”). See MTD

  Reply, Ex. A (Criminal Complaint), ECF 192-2 at PageID 4348-424; Status Report, Ex. B to Ex. 5

  (United States v. FirstEnergy Corp., No. 1:21-cr-00086, DPA, ECF 3 (S.D. Ohio July 22, 2021)),

  ECF 259-5 at PageID 6013-43 (both identifying a bailout for FirstEnergy’s nuclear plants as the

  primary motive for the Larry Householder (“Householder”) corruption; both identifying HB6’s

  decoupling provision as guaranteeing fixed revenues for FirstEnergy entities as an additional motive;

  both identifying Generation Now as a Householder-controlled 501(c)(4) entity; both identifying

  approximately $59 million in dark money payments from FirstEnergy entities to Generation Now as

  primary funding for the corrupt enterprise; both relying extensively on text messages to and from

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   Householder; both quoting FirstEnergy’s HB6-related statements in SEC filings; both quoting

   Jones’s HB6-related public statements).4 The only real distinction between the documents is that the

   text messages quoted in the Criminal Complaint involved individuals charged in the criminal

   proceedings and the text messages quoted in the DPA involved individuals (Jones and Dowling)

   through whom FirstEnergy admitted it committed its crime. MTD Reply, Ex. A (Criminal

   Complaint), ECF 192-2 at PageID 4348-424; Status Report, Ex. 5 (DPA), ECF 259-5 at PageID

   6013-43.

            The exceptional details in the government’s Criminal Complaint, and the supporting

   evidence readily available to FirstEnergy (primarily bank records, phone records, text messages, and

   emails), distinguish this situation from nearly all other alleged corporate crimes. For white-collar

   crimes, it is highly unusual, if not unprecedented, for the government to present such extensive

   evidence prior to a single indictment or plea. In response, FirstEnergy conducted an investigation,

   but its statements and actions show that it did so primarily for business reasons, or at a minimum

   would have done so for business reasons regardless of any possible litigation. Specifically, the

   primary purposes for its internal investigation were business-related: retaining or firing employees,

   assuaging outside auditors, preserving access to capital, and creating a bargaining chip with the

   government.

                       B.   FirstEnergy’s Most Urgent Need for the Internal Investigation
                            Was the Business Purpose of Obtaining Its Outside Auditor’s
                            Sign-Off

            FirstEnergy’s second financial quarter ended on June 30, 2020, only three weeks before the

   government unsealed its Criminal Complaint.           This meant FirstEnergy’s first priority was

   4
       Unless otherwise noted, all “Ex._” references are to the exhibits attached to the Declaration of
   Jason A. Forge in Support of the Moving Parties’ Motion to Compel Discovery Regarding
   FirstEnergy’s Internal Investigation, filed concurrently herewith. References to “JD_” are to
   exhibits introduced by defendants Jones and Dowling. Additionally, unless otherwise noted,
   emphasis is added and citations are omitted.

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   investigations, the Independent Review Committee of the Board determined that these executives

   violated certain FirstEnergy policies and its code of conduct.”5

                       C.   FirstEnergy Publicly Revealed Additional Information from
                            Its Internal Investigation

                            1.    All Termination-Related Information FirstEnergy
                                  Revealed Came from Its Internal Investigation

            On November 8, 2020, less than two months after deploying Reffner to assure PwC in

   connection with FirstEnergy’s August 2020 Form 10-Q, the Company “separated” him along with

   Ebony Yeboah-Amankwah (“Yeboah-Amankwah”), the Company’s General Counsel and Chief

   Ethics Officer, along with several other employees and in-house counsel. ¶184.6 Shortly thereafter,

   on November 19, 2020, FirstEnergy disclosed certain conclusions its lawyers had reached regarding

   Reffner, Yeboah-Amankwah, and others. Specifically, FirstEnergy disclosed that these individuals

   “did not reasonably ensure that relevant information was communicated within our organization and

   not withheld from our independent directors, our Audit Committee, and our independent auditor.”

   ¶190. FirstEnergy further revealed that this undisclosed relevant information related to a $4.3

   million payment to the incoming Chairman of the Public Utilities Commission of Ohio (“PUCO”),

   Samuel C. Randazzo (“Randazzo”). Id. Although this information was not expressly attributed to

   FirstEnergy’s lawyers at the time, defendant Julia Johnson (“Johnson”) – a former director and

   member of the Special Investigation Committee – later confirmed during her deposition that all this

   information had come from FirstEnergy’s lawyers, not its Board of Directors: “That information was

   provided to us as a part of the special investigation committee and the information was provided by


   5
       See Press Release, FirstEnergy, FirstEnergy Announces Leadership Transition (Oct. 29, 2020),
   https://investors.firstenergycorp.com/investor-materials/news-releases/news-details/2020/
   FirstEnergy-Announces-Leadership-Transition/default.aspx.
   6
      Unless otherwise noted, all “¶_” or “¶¶_” citations are to the Consolidated Complaint for
   Violations of the Federal Securities Laws, ECF 72 at PageID 1545-674.

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   lawyers . . . .” Ex. 3 (Johnson Tr. Vol. II) at 546:11-13; 558:17-18 (“My position is that the facts

   that were provided to us by our lawyers pursuant to what my lawyer [today] had said is privileged.”).

   In fact, Johnson confirmed that the firings of Jones, Dowling, and others for violations of Company

   policies were based solely on information lawyers had provided:

            [CLASS COUNSEL:] Q. Was this text – the text messages set forth here, were they
            a basis for the termination of Mr. Jones?

            [FIRSTENERGY’S COUNSEL:] Objection. I instruct you not to answer and reveal
            the privileged information or discussions with counsel. If you can answer outside of
            the internal investigation, go ahead.

            [THE WITNESS:] A. All the information that I received in making our
            determination was a part of that investigation.

   Id. at 508:7-25; see also id. at 541:17-543:13.

                           2.      All the Information Set Forth in the DPA Came from
                                   FirstEnergy’s Internal Investigation

            Less than a year after completing its internal investigation, FirstEnergy entered into the DPA

   with the United States Attorney’s Office for the Southern District of Ohio (the “USAO-SDOH”).

   Among other things, the agreement set forth a series of obligations, many of which concerned

   FirstEnergy’s past and anticipated cooperation, which the agreement described as “substantial,”

   including an assurance that FirstEnergy had “conduct[ed] a thorough internal investigation,” a

   commitment to disclose “any information . . . requested by the government,” and agreement to a

   detailed Statement of Facts that largely paralleled the Criminal Complaint that the government had

   unsealed almost exactly a year earlier. Status Report, Ex. 5 (DPA), ECF 259-5 at PageID 6002,

   6013.

            FirstEnergy’s Board authorized FirstEnergy to enter into the DPA, including all the many

   facts and admissions that FirstEnergy chose to disclose in it. Ex. 3 (Johnson Tr. Vol. II) at 510:19-

   22. Former FirstEnergy director Johnson, admitted that all the information FirstEnergy disclosed to

   its adversary (the USAO-SDOH) and to the general public came from its internal investigation, on
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   which FirstEnergy relied as the basis to instruct Johnson (and other witnesses) not to answer any

   questions about this information:

            [CLASS COUNSEL:] Q. And are you aware of the admissions of wrongdoing that
            FirstEnergy made in this DPA?

            [THE WITNESS:] A. Yes.

            [CLASS COUNSEL:] Q. And what is your understanding of those admissions?

            [FIRSTENERGY’S COUNSEL]: Object, I object and instruct you to leave out from
            your answer any understandings that you gained from communications with counsel.

            [THE WITNESS:] A. Everything that I know about the DPA is information that I
            obtained from discussions with our lawyers.

   Ex. 3 (Johnson Tr. Vol. II) at 482:1-11. Further, Johnson acknowledged that the investigation used

   lawyers not so much as legal advisors, but more as fact finders so the Board could make the above-

   referenced business decisions to terminate employees and enter into the DPA:

            [THE WITNESS:] A. As a board member and an independent review committee
            member, all of the questions that I had were directed to the lawyers.

             [DOWLING’S COUNSEL:] Q. For what purpose did you direct your questions to
            the lawyers?

            [THE WITNESS:] A. So that they could do the fact-finding on whatever the issue
            was. I did not independently do the fact-finding.

   Id. at 397:7-15.

                       D.   FirstEnergy Continues to Reveal Information from Lawyers
                            and Additional Investigative Conclusions Selectively

            On May 19-20, 2022, and December 6-7, 2022, FirstEnergy provided deposition testimony

   pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure (the December dates were

   necessitated by FirstEnergy’s lack of preparedness for the May deposition (Opinion and Order, ECF

   333 at PageID 7122-31)). The testimony from both 30(b)(6) witnesses relied on scripted answers

   FirstEnergy’s lawyers had given them to then share with Plaintiffs and all other parties. See, e.g.,

   Ex. 4 (Ashton Tr. Vol. I) at 24:24-25:17; 27:10-23; 137:7-21; 138:24-139:3. In fact, FirstEnergy

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   294 (6th Cir. 2002) (some alterations in original). Accordingly, “[t]he privilege ‘applies only where

   necessary to achieve its purpose and protects only those communications necessary to obtain legal

   advice.’” Id.

                       B.   The Primary Purposes of FirstEnergy’s Internal Investigation
                            Were Business-Related

            A “‘communication is not privileged simply because it is made by or to a person who

   happens to be an attorney.’ To be privileged, the communication must have the ‘primary purpose of

   soliciting legal, rather than business, advice.’” Zigler v. Allstate Ins. Co., 2007 WL 1087607, at *1

   (N.D. Ohio Apr. 9, 2007) (emphasis in original).          This same principle applies to internal

   investigations. See, e.g., Calendar Rsch. LLC v. StubHub, Inc., 2019 WL 11558873, at *4 (C.D. Cal.

   July 25, 2019) (“courts have declined to extend the protections of the attorney-client privilege where

   the purpose of a due diligence investigation was to obtain factual data for a business purpose”). In

   this regard, “[d]espite its legal content, human resources work, like other business activities with a

   regulatory flavor, is part of the day-to-day operation of a business; it is not a privileged legal

   activity.” Koumoulis v. Indep. Fin. Mktg. Grp., Inc., 295 F.R.D. 28, 44-46 (E.D.N.Y. 2013), aff’d,

   29 F. Supp. 3d 142 (E.D.N.Y. 2014).

            In addition, to constitute work-product protected by Federal Rule of Civil Procedure

   26(b)(3), FirstEnergy “bears the burden of showing that the investigation and report were created in

   anticipation of litigation and not just for business purposes.” Futhey v. United Transp. Union Ins.

   Ass’n, 2015 WL 2446169, at *1-*2 (N.D. Ohio May 20, 2015). The inquiry “centers on whether

   documents were ‘prepared or obtained because of the prospect of litigation[,]’ as opposed to those

   ‘prepared in the ordinary course of business, or pursuant to public requirements unrelated to

   litigation, or for non-litigation purposes[.]” McNeil v. Mount Carmel Health Sys., 2021 WL

   5235103, at *4 (S.D. Ohio Nov. 10, 2021) (Jolson, M.J.) (alterations in original). Accordingly, “‘if

   the item would have been prepared in substantially the same manner, regardless of the anticipated
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   litigation, the [work-product] doctrine does not apply.’” Id.; see also In re OM Sec. Litig., 226

   F.R.D. 579, 585-87 (N.D. Ohio 2005) (documents prepared in connection with audit committee’s

   investigation of corporation’s inventory problems, which began after shareholder litigation had

   commenced, would have been prepared regardless of the possibility of additional litigation, and

   therefore documents were not protected by work-product doctrine).7

            FirstEnergy has not attempted to establish, let alone succeeded in establishing, that the

   primary purpose of its internal investigation was obtaining legal advice, as opposed to gathering

   facts for a series of predominantly business purposes and decisions. Similarly, FirstEnergy has not

   demonstrated that it would not have conducted the internal investigation were it not for the prospect

   of litigation. Here, as in Kidder Peabody, the investigation was instead required for pressing

   business purposes and would have been undertaken regardless of whether litigation or criminal

   proceedings were threatened or had commenced.8

            The first purpose of the internal investigation was to assuage PwC so FirstEnergy could

   complete its required SEC filings, as well as to comply with the Company’s obligation to assess the

   sufficiency of its internal controls. This is squarely within the scope of its regularly conducted

   business activities. Just like in OM, FirstEnergy’s audit committee needed the information gathered



   7
       See also Allied Irish Banks, p.l.c. v. Bank of Am., N.A., 240 F.R.D. 96, 106-109 (S.D.N.Y. 2007)
   (documents created by law firm hired to investigate alleged foreign currency trading scheme and
   make recommendations for changes were not protected by the work-product doctrine where party
   asserting privilege failed to present any testimony that the documents would not have been prepared
   without the threat of litigation); In re Kidder Peabody Sec. Litig., 168 F.R.D. 459, 463, 466
   (S.D.N.Y. 1996) (documents generated during internal investigation of defendant corporation
   regarding scheme by trader to inflate earnings reports were not protected work-product since the
   documents were not created principally or exclusively to assist in contemplated or ongoing litigation;
   inquiry was required for pressing business purposes and thus would have been undertaken regardless
   of whether litigation was threatened).
   8
      Because the considerations for assessing privilege and work-product protection overlap
   considerably, though they are not identical, Moving Parties address them together.

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   in the internal investigation, and PwC’s resulting cooperation, regardless of the possibility of

   litigation.

            That FirstEnergy later admitted to deficiencies in its internal controls following revelations of

   its unlawful conduct further demonstrates the internal investigation would have occurred regardless

   of any litigation. In its Form 10-Q issued on November 19, 2020 – three months after FirstEnergy

   represented to PwC that the Company’s investigation was “complete” – FirstEnergy admitted “its

   disclosure controls and procedures were not effective as of September 30, 2020” because the

   Company “did not maintain an effective control environment as our senior management failed to set

   an appropriate tone at the top.” As FirstEnergy was required to evaluate the effectiveness of its

   internal controls, the Company no doubt would have undertaken an investigation into the facts in

   connection with the Criminal Complaint regardless of any anticipated or actual legal proceedings.

   See In re Valeant Pharms. Int’l, Inc. Sec. Litig., 2021 WL 2587784, at *11 (D.N.J. June 24, 2021)

   (“[I]rrespective of pending litigation against the Company, and even irrespective of malfeasance at

   the top of the organization, Valeant, had it discovered financial irregularities (even in the absence of

   investigations or media scrutiny), would have taken – and was obligated to take – the same steps.”).

            The second purpose of the internal investigation was to gather facts for a series of human

   resource decisions, starting with whether to retain or fire the Company’s Chief Executive Officer

   (“CEO”), Jones. As in Koumoulis, this human resource work is clearly part of the day-to-day

   operation of a business, as opposed to a privileged legal activity. And similar to Calendar Research,

   FirstEnergy director and Independent Review Committee (“IRC”) member Johnson (who was also a

   member of the Special Investigation Committee) has already testified that the




                                                 . Another FirstEnergy director and Committee member,

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   defendant Thomas N. Mitchell (“Mitchell”), testified



                                                                                                         .

            This Court has already reminded the parties that “[a] party asserting privilege must provide

   sufficient information to allow a court to determine whether the communications in question were in

   fact confidential communications relating to legal advice.” Opinion and Order, ECF 378 at PageID

   9011. Yet, throughout two full days of testimony, Johnson never identified a single category of legal

   advice that the Board sought from the internal investigation. Even the many instructions not to

   answer questions were completely untethered to any indication or condition that the answer would

   reveal a communication concerning legal advice: “I’m going to object and I’m going to instruct you

   to leave out any communications or information you received from your lawyers.” Ex. 3 (Johnson

   Tr. Vol. II) at 348:21-23.9 In fact, over the course of four days of testimony from two directors, the

   only time legal advice was a condition of an instruction not to answer was during questioning about

   a meeting that occurred the week after Householder and several of his alleged coconspirators were

   arrested – before formation of the IRC.                                                 .

            The third and fourth purposes of the internal investigation were intertwined. The third is that

   FirstEnergy

                                              , which is clearly a business purpose. To accomplish this

   crucial objective, FirstEnergy needed to strike a deal with the government, so the fourth purpose of

   the investigation was to gather evidence and facts to use as a bargaining chip with the government.

   Indeed, FirstEnergy expressly used its internal investigation as a bargaining chip with the

   government, so much so that the very first form of “substantial cooperation” listed in the DPA was

   9
      See also id. at 359:16-18; 365:1-5; 365:12-14; 392:7, 15, 20; 393:1, 10, 17; 394:1-2; 395:2-5;
   398:18, 23; 472:19-21; 482:6-8; 501:16-17; 502:24-503:1, 17-18; 507:7-16; 508:4-5, 10-14, 19-22;
   541:12-15; 541:24-542:1; 543:8-10; 545:3-6; 546:8-10; 549:9-14; 553:9-12; 554:12-15; 558:5-9.

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   “conducting a thorough internal investigation.” Status Report, Ex, 5 (DPA), ECF 259-5 at PageID at

   6002. Therefore, this was also predominantly a business purpose.

            Two final indications that the primary purpose of FirstEnergy’s internal investigation was not

   legal advice are that: (1) FirstEnergy shared with others essential information from it, which, as set

   forth below, is completely inconsistent with a privileged investigation; and (2) FirstEnergy

   seemingly made no effort to recuse from the investigation several of the very people involved in the

   actions being investigated, which would be of paramount significance in an investigation for legal

   purposes. For example, on or about February 23, 2021,




                                                                                . Yet, only three months

   later, FirstEnergy fired

                                                                                                         .

   Also, as mentioned above,




                                                      . Only three months later, FirstEnergy “separated”




                                                                                            . These facts

   further demonstrate that the business purpose of obtaining PwC’s sign-off as quickly as possible was

   the primary reason for FirstEnergy’s internal investigation, as this urgency led to such a hasty

   assembly of an investigation team that there was no effort to exclude from the team the very

   individuals whose own actions fell within the scope of the investigation.

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            At bottom, FirstEnergy cannot carry its burden to establish that the primary purpose of its

   internal investigation was legal advice because that simply was not the primary purpose. Further,

   with or without possible litigation, FirstEnergy had to conduct its internal investigation to satisfy its

   outside auditor and comply with SEC filing requirements, as well as to determine which employees

   to retain and which to fire – all prototypical business purposes. As the court in Allied Irish Banks

   observed, “the use to which the [investigative] Report was ultimately put provides further evidence

   of why it would have been generated in the same manner irrespective of the potential for litigation.”

   240 F.R.D. at 108. Specifically:

            According to AIB’s Group Chief Executive, the AIB board intended the Report to be
            used to “address[] culpability, accountability, control systems and organizational
            issues.” As noted, the Board publicly fired six individuals identified in the Report as
            “directly responsible for oversight of [inculpated foreign currency trader] Mr.
            Rusnak. . . . “[C]onsistent with the findings and recommendations of the report,” the
            Board also adopted a series of “organisational changes” to its “strategy and group
            structure” as well as to its corporate governance. These actions evidence the
            importance of the . . . Ludwig investigation as a corporate management tool, not as a
            mechanism to assist in expected litigation.

   Id. (certain alterations in original and added). So too, here.

            Under the circumstances here, any legal purpose for the internal investigation was a distant

   second to these business considerations.

                       C.   FirstEnergy’s Nearly Complete Disclosure of Its Internal
                            Investigation Waived Any Attorney-Client Privilege or
                            Work-Product Protections

            “Attorney-client privilege is not absolute, and ‘if a client wishes to preserve the privilege, it

   must treat the confidentiality of attorney-client communications like jewels – if not crown jewels.’”

   LifeBio, Inc. v. Eva Garland Consulting, LLC, 2023 WL 3258586, at *3 (S.D. Ohio May 4, 2023).

   “As a general rule, the ‘attorney-client privilege is waived by voluntary disclosure of private

   communications by an individual or corporation to third parties.’” Columbia/HCA, 293 F.3d at 294.

   Waiver of work-product protection occurs when “the original disclosure . . . [is] to an ‘adversary.’”

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   Id. at 306 n.28. FirstEnergy waived both attorney-client privilege and work-product protection by

   disclosing to third parties information relating to the internal investigation.

                           1.      FirstEnergy’s Disclosures to PwC Waived Any
                                   Protections

            Rather than safeguard any privileged material (assuming for argument’s sake it was

   privileged), FirstEnergy freely, and strategically, shared nearly all information from its internal

   investigation with its outside auditor, as well as critical aspects of it with the public and the

   Company’s adversaries here. Thus, even if the internal investigation had a primarily legal purpose

   (which it demonstrably did not) or was conducted because of ongoing or anticipated litigation

   (which it demonstrably was not), FirstEnergy waived any otherwise applicable protections. Though

   cases outside the Sixth Circuit are mixed on whether disclosure of protected information to an

   outside auditor waives both attorney-client privilege and work-product protection, the only two

   district courts within the Sixth Circuit to address this issue both unequivocally held that disclosure of

   privileged communications to outside auditors renders both inapplicable. First Horizon Nat’l Corp.

   v. Houston Cas. Co., 2016 WL 5867268, at *10 (W.D. Tenn. Oct. 5, 2016); In re King Pharms., Inc.

   Sec. Litig., 2005 WL 8142328, at *3 (E.D. Tenn. Sept. 21, 2005).                   The court in King

   Pharmaceuticals, for example, determined the company’s disclosure of information to its outside

   auditor (PwC) was not protected by the work-product doctrine, as “King furnished documents to

   PWC ostensibly to enable PWC to prepare accurate audit reports and financial statements which in

   turn would have been publicly disseminated . . . .” 2005 WL 8142328, at *3.

            Here, just as in King Pharmaceuticals and First Horizon, “any information provided to

   [PwC] cannot have been furnished ‘in anticipation of litigation’ but was furnished to [PwC] in its

   capacity as an outside auditor.” First Horizon, 2016 WL 5867268, at *10. Equally important, this

   was not a superficial or summary-level disclosure, but rather a virtually complete reveal, spanning

   the most critical aspects of any investigation,
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                                                            . The fact that FirstEnergy is asserting that

   large swaths of information it shared with PwC are purportedly privileged

                                                                             ) confirms that FirstEnergy

   made precisely the kinds of extensive disclosures to an independent auditor that eviscerate any

   possible protections regarding the internal investigation, and also demonstrates the unreasonableness

   of FirstEnergy’s privilege assertions regarding PwC’s materials. At the same time, the fact that

   FirstEnergy withheld information (albeit only eight documents) from PwC further confirms that

   PwC was not assisting in the rendering of any legal advice.

                          2.      FirstEnergy’s Additional Disclosures in This Litigation
                                  Waived Any Protections Related to the Internal
                                  Investigation

            As set forth above, FirstEnergy’s Rule 30(b)(6) testimony scripts revealed extensive

   information from its internal investigation, including apparent quotes from investigative materials

   and witness interviews, numerous facts, and most importantly, the lawyers’ ultimate conclusions and

   inferences regarding employees’ intent, knowledge, candor, and violations of corporate policy – all

   of which FirstEnergy’s 30(b)(6) witnesses and directors testified came from counsel. FirstEnergy

   even used the phrase “                ” when revealing such information:




                               . Revealing                 of supposedly privileged information is the

   antithesis of treating such information “‘like jewels – if not crown jewels.’” LifeBio, 2023 WL

   3258586, at *3. It is simply not a luxury one can enjoy and keep the privilege. See also

   Columbia/HCA, 293 F.3d at 302 (“we reject the concept of selective waiver, in any of its various

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   forms”); United States v. Paulus, 2021 WL 4494607, at *4 (E.D. Ky. Sept. 30, 2021) (“[Third-

   party’s] partial disclosure of the consultant’s findings waives any privilege to those findings and

   necessitates disclosure of the balance of the findings.”), mandamus denied by, 31 F.4th 520 (6th Cir.

   2022).

            The same goes for FirstEnergy’s disclosures of its lawyers’ conclusions that



                       . FirstEnergy also disclosed its lawyers’ conclusions regarding




                                                                                    . Any one of these

   disclosures would be sufficient to waive any applicable protections for FirstEnergy’s internal

   investigation. Collectively (and these are just a few examples), they overwhelmingly eliminate any

   possibility of FirstEnergy meeting its burden of demonstrating non-waiver.

            The OM court’s analysis regarding the scope of waiver is instructive here. In OM, the

   investigation at issue was an audit committee investigation for presentation to the defendants

   company’s board of directors.      226 F.R.D. at 584.      Outside accountants were part of the

   investigation team, not the recipients of the investigation for business purposes. Moreover, unlike

   here, the OM defendants did not use the investigative materials to attempt to exonerate themselves

   and “did not disclose snips and quotes of employee interviews from the underlying documents to a

   third party in order to obtain an unqualified audit opinion.” Id. at 593. In fact, the OM court

   determined the audit committee’s “substantial, intentional, and deliberate” disclosure “to OMG’s

   Board” was particularly salient. Id. The court further explained that “[t]here is no reason

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   Defendants, who voluntarily disclosed substantial information about an investigation that led to a

   public announcement that OMG anticipated a restatement of earnings, should now be able to

   withhold information that would allow Plaintiff to review the whole picture.” Id. Accordingly, the

   court held that the defendants had broadly waived all protections to all underlying information

   related to the audit committee’s presentation to the Board (though not information generated after

   the presentation). Id.

            FirstEnergy’s disclosures and use of the investigation materials go well beyond those in OM.

   Unlike the single PowerPoint presentation to the board in OM, FirstEnergy’s disclosures to PwC



                                                                             . Likewise, FirstEnergy’s

   investigation led to multiple public announcements that were more detailed than the mere mention of

   an anticipated earnings restatement in OM. FirstEnergy’s public announcements not only include

   firings and separations of multiple employees, but also the several reasons for the firings, which are

   all attributable to the internal investigation. Moreover, unlike in OM, where there was no affirmative

   use of information attributable to the investigation to exonerate anyone, FirstEnergy repeatedly used

   such information to attempt to exonerate its Board and select employees and thus itself as to any

   vicarious liability related to such individuals. And whereas, in OM, the defendant company “did not

   disclose snips and quotes of employee interviews from the underlying documents to a third party,”

   that is exactly what FirstEnergy did – both with PwC (which received far more than snips and

   quotes) and with Moving Parties. OM, 226 F.R.D. at 583.




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                           3.      FirstEnergy’s Counsel’s Conflicting Positions During
                                   Depositions Further Demonstrate the Implausibility of
                                   the Company’s Privilege Assertions

            During the depositions of two of the director-members of the IRC, FirstEnergy’s own

   lawyers couldn’t keep straight what was supposedly privileged and what was not, leading to

   indefensibly contradictory instructions such as during the deposition of Julia Johnson:

            [THE WITNESS:] A. I believe I received [testimony script Ex. 5 (Dep. Ex. JD 39)].

            [CLASS COUNSEL:] Q. Right. And the information contained within here in this
            document was the basis for the termination or at least some part of the basis for the
            termination of Mr. Jones and Mr. Dowling; isn’t that correct?

            [THE WITNESS:] A. Yes.

   Ex. 3 (Johnson Tr. Vol. II) at 528: 7-12. Not long after that exchange, FirstEnergy’s counsel

   asserted a privilege objection and instructed Johnson not to confirm information set forth in

   FirstEnergy’s own Form 10-K, which she had authorized, about Jones’s and Dowling’s terminations.

   Id. at 544:1-546:19. Soon thereafter, counsel asserted a privilege objection and instructed Johnson

   not to answer nearly the same questions about Deposition Exhibit JD 39 (attached hereto as Ex. 5)

   that she had answered minutes earlier, thus completely shutting down the questioning regarding the

   reasons for Jones’s termination:

            [CLASS COUNSEL:] Q. Let me ask you this. So with respect to the information
            that was disclosed to the public, are you refusing to answer whether or no – whether
            or not the facts set forth in Exhibit 39 were part of the reasons why Mr. Jones and
            Mr. Dowling were terminated? Is that your position?

            [FIRSTENERGY’S COUNSEL:] Objection. I’m instructing you not to answer and
            reveal any communications or discussions you had with counsel related to the
            internal investigation and the terminations of Mr. Jones and Mr. Dowling.

                                              *      *       *

            [THE WITNESS:] A. My position is that the facts that were provided to us by our
            lawyers pursuant to what my lawyer has said is privileged.

   Id. at 557:24-558:19.


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            By the time of the deposition of the next director-member of the IRC, Mitchell, FirstEnergy’s

   counsel openly admitted what its instructions at the prior deposition had implied: FirstEnergy had

   adopted the untenable position that facts become privileged simply by being conveyed by counsel:

            [DIRECT ACTION PLAINTIFFS’ COUNSEL:] Q. Are you saying that facts
            conveyed by counsel are privileged?

            [FIRSTENERGY’S COUNSEL:] A. Yes.

   Ex. 6 (Mitchell Tr. Vol. I) at 189:4-6.

            Contrary to FirstEnergy’s counsel’s perspective and repeated instructions not to answer, “‘[i]t

   is clear that when an attorney conveys to his client facts acquired from other persons or sources,

   those facts are not privileged.’” Antoine v. Atlas Turner, Inc., 66 F.3d 105, 110 (6th Cir. 1995); see

   also Hilton-Rorar v. State & Fed. Commc’ns Inc., 2010 WL 1486916, at *7 (N.D. Ohio Apr. 13,

   2010) (same and citing Kansas Wastewater, Inc. v. Alliant Techsystems, Inc., 217 F.R.D. 525, 528

   (D. Kan. 2003), for the principle that “privilege does not apply to facts that an attorney

   communicates to her client”). Worse, even if facts were privileged (which they plainly are not), their

   disclosure in public SEC filings and in deposition transcripts such as Ex. 5 (Dep. Ex. JD 39) would

   have waived any protections. FirstEnergy’s position is doubly indefensible because its counsel is

   instructing witnesses not to answer questions about facts from the Company’s internal investigation

   that it has repeatedly chosen to disclose in other contexts.

            The arbitrariness (though consistently self-serving in nature) of what FirstEnergy chose to

   reveal and what it insisted on withholding is further demonstrated by two discrete inquiries relating

   to employee terminations/separations. Despite the Court’s order finding FirstEnergy had failed to

   provide an adequately prepared witness for its Rule 30(b)(6) deposition, even during the second

   deposition FirstEnergy’s witness was unprepared to answer certain basic questions regarding the

   terminations/separations. As indicated above, in its deposition scripts FirstEnergy revealed


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                               . Yet FirstEnergy’s witness was still unprepared to identify what relevant

   information these employees had failed to ensure was produced in connection with the internal

   investigation. See, e.g.,                                       Ex. 11 (Storsin Tr. Vol. II) at 381:12-

   382:9.     Likewise, regarding former CEO defendant Steven Strah’s (“Strah”) “retirement,”

   FirstEnergy’s witness was only prepared to testify that “the board’s offer [was] that Mr. Strah retire,”

   but he was completely unprepared to testify as to what the alternative was if Strah declined the

   “offer.” Ex. 11 (Storsin Tr. Vol. II) at 385:13-387:21. Despite raising no privilege objections to

   these questions during the deposition, when meeting and conferring about this lack of preparation,

   FirstEnergy asserted that the answers to these questions were privileged.

                       D.   Having Wielded the Internal Investigation as a Sword,
                            FirstEnergy Cannot Now Shield It from Discovery

            “‘[L]itigants cannot hide behind the privilege if they are relying on privileged

   communications to make their case’ or, more simply, cannot use the privilege as ‘a shield and a

   sword.’” In re United Shore Fin. Servs, LLC, 2018 WL 2283893, at *2 (6th Cir. Jan. 3, 2018)

   (quoting In re Lott, 424 F.3d 446, 454 (6th Cir. 2005)). “When a party reveals privileged

   communications or otherwise waives the protections of the attorney-client privilege, ‘that party

   waives the privilege as to all communications on the same subject matter.’” Mooney ex rel. Mooney

   v. Wallace, 2006 WL 8434638, at *8 (W.D. Tenn. July 12, 2006) (quoting United States v. Skeddle,

   989 F. Supp. 905, 908 (N.D. Ohio 1997)). “The privilege may be implicitly waived when the holder

   of the privilege asserts a claim that requires examination of protected communications.” In re Grand

   Jury Subpoena, 93-2-1-01, 9 F.3d 107 (Table), 1993 WL 453395, at *2 (6th Cir. 1993) (Guy, J.,

   concurring) (citing United States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991)). That is precisely

   what FirstEnergy is doing in these proceedings.
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            In particular, FirstEnergy offered the following unsolicited self-exculpatory testimony during

   its second Rule 30(b)(6) deposition:

            [THE WITNESS:] A. FirstEnergy is aware of no evidence suggesting that any
            outside director knew of payments or contributions in exchange for specific official
            action for FirstEnergy’s benefit and . . . FirstEnergy is aware of no evidence
            suggesting that any current officer or Mr. Strah knew of payments or contributions in
            exchange for specific official action for FirstEnergy’s benefit.

   Ex. 10 (Storsin Tr. Vol. I) at 32:15-23. The Company echoed this claim and added another



                                                                                                          .

            The court encountered a very similar situation in Crestwood Farm Bloodstock LLC. There,

   in a breach of contract action, the plaintiff elicited testimony from its transactional attorney that no

   one had discussed an exception at issue prior to the case, so the “implication [wa]s that . . . the

   Agreement did not contemplate such an exception.” Id. at *3. Since the attorney had obtained his

   information only from his client, the court ruled that the plaintiff could not create such an

   implication “without opening discovery on other communications to and from [the attorney] on the

   [exception issue],” as the situation “present[ed] the classic sword and shield privilege metaphor.” Id.

   (citing Lott, 424 F.3d at 454).

            Here, the roles are reversed but the analysis and necessary consequence are identical. In fact,

   FirstEnergy’s testimony went further than the mere “implication” in Crestwood. Since FirstEnergy’s

   lawyers comprised FirstEnergy’s only source of information about purported evidence (or lack

   thereof) of its directors’ and officers’ knowledge, FirstEnergy cannot claim it is aware of no such

   evidence “without opening discovery on other communications to and from [the attorneys] on the

   [issue].” Id. at *3. Accordingly, this is another basis for finding waiver regarding all information

   related to FirstEnergy’s internal investigation.



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            IV.        CONCLUSION

            For all the foregoing reasons, Moving Parties respectfully request that the Court enter an

   order granting their motion and determining the following: (1) FirstEnergy’s internal investigation is

   not entitled to attorney-client privilege or work-product protections in the first place; (2) even if

   FirstEnergy’s internal investigation had been entitled to any such protections, FirstEnergy has

   waived them; and (3) FirstEnergy must produce all previously withheld documents, witnesses must

   answer all questions (past and future) related to the internal investigation, and FirstEnergy must

   withdraw all asserted protections that are reflected in PwC’s document productions.

   DATED: June 30, 2023                             Respectfully submitted,


                                                                   s/ Joseph F. Murray
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                                     CERTIFICATE OF SERVICE
            I hereby certify that the foregoing was filed electronically on June 30, 2023. Notice of this

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                                                         /s/ Joseph F. Murray
                                                         Joseph F. Murray (0063373)




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R3?D<:942Dÿ0123ÿU9<2D?ÿK2><
VWXÿZ[\\[]^_`ÿabXÿcW[dXÿ]W[ÿabXÿefbbX_c\gÿ[_ÿcWXÿ\^dcÿc[ÿbXeX^hXÿXija^\ÿ_[c^eXdÿZ[bÿcW^dÿeadXk
      lPÿM1SÿJ3E1:?m
      nagaob`bp\a]ke[jqXrZ^\Xrdpob`bp\a]ke[j
      M1;?>ÿRsO1:sÿJ:493s
      nab_[\poab_\a]ke[jqtuvwvxwuxyoZ^\^_`dkp[ezXc{^bpke[jqcadW{goab_\a]ke[jqa{\[ddXboab_\a]ke[j
      |1E2sÿKPÿJ}?3:9s
      a~X\b[ppo{a\\abpdaWbke[jqja_`^abae^_ano{a\\abpdaWbke[j
      |142?3ÿRPÿ1:?41;
      p{abX_{afjo{Xbja_ca{aee[ke[jqdZdXbh^eXo{Xbja_ca{aee[ke[j
      M9:s14ÿ0Pÿ1;144
      n{afja__on[_Xdpagke[j
      R32m1?<ÿ?4>988
      X{X_dW[ZZon[_Xdpagke[j
      L1<?:24?ÿPÿ?:5?:
      z{Xb`Xbon[_Xdpagke[jqb\j^\\Xbon[_Xdpagke[j
      M1E2?:ÿ3?2D;1:
      n{\X^eWjabo{Za\a]ke[j
      |1E2sÿÿ399;82?3sÿÿM:
      p{\[[jZ^X\po[bcXb]b^`Wcke[jqjbfgZo[bcXb]b^`Wcke[j
      M9>?Tÿ02D1?3ÿ:44?:
      nj{bf__Xboh[bgdke[jqc\deW]aboh[bgdke[j
      :?><94ÿ:<94
      {fbc[_o[bb^ezke[jq_bXX{Xbo[bb^ezke[jq\deW]abco[bb^ezke[j
      ?:942D1ÿRPÿ=133114
      hXb[_^eakea\\aWa_oab_[\p[bcXbke[jqXp[ezXcdea\X_pab^_`oab_[\p[bcXbke[jqhXb[_^eaiea\\aWa_iutoXeZkaeXbb[ke[jqja[dp[Woab_[\p[bcXbke[j
      01<<?OÿJÿ=2:2D9><1
      jeW^b^e[dcaoea\ZXXke[jq\^cp[ezXcoea\ZXXke[j
      1D?3ÿJ44ÿ=9D132>
      be[ea\^dob`bp\a]ke[jqr^\Xrob`bp\a]ke[j
      :214ÿRPÿ=9D:14
      {e[eWba_ob`bp\a]ke[jqj\gp[_ob`bp\a]ke[jqXrZ^\Xrdpob`bp\a]ke[jqzn[W_d[_ob`bp\a]ke[j
      |?>2:??ÿ=;;245>
      pefjj^_`dob`bp\a]ke[jqr^\Xrob`bp\a]ke[j
      M1;?>ÿ24ÿ=;;24>
      nefjj^_doefjj^_d\a]kfdqbbWX^_oefjj^_d\a]kfdqp[ezXcoefjj^_d\a]kfdqX\[d^Xboefjj^_d\a]kfd
      K2>1ÿÿ|?3ÿ:9>>9
      \pX\`b[dd[o{b[fdXke[jqdd\a{af`Wo{b[fdXke[j
      01:9:2?ÿÿ|88S
      jpfZZgon[_Xdpagke[jqbZab`a{b^cXon[_Xdpagke[j
      M?:?;Sÿ<?E?4ÿ|4411D
      npf__a{aezo{azXb\a]ke[j
      9;1>ÿRÿR53?:
      Vob`bp\a]ke[j
      M94ÿ=ÿQ12:O?1<?:
      neZo{b[fdXke[jqdd\a{af`Wo{b[fdXke[j
      M94ÿJÿQ1E:?<ÿÿ777
      nZahbXcocfezXbX\\^dke[jqpab\X_XkWfpXezocfezXbX\\^dke[jqWX\dXakeb[gocfezXbX\\^dke[j
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      01234ÿ67ÿ839:;
      <=>?@AB?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>I
      PQ9R2S3TQ;9ÿUQ3V12ÿWRX93Y
      H@MD?>ZB?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>I
      [3\;9Sÿ07ÿWR]^^91ÿ_ÿ09
      @M̀aa?E?Bb`DDH?>IGH>I
      0341Qÿc7ÿW3Xd2S;R4
      e>fEg@B?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>I
      W;9Q19dSÿ6ÿW324;XXÿ_ÿhh
      @@>bfADDBE?fDEFGH>IJijklmjnlkoBaMDMf@bGC>HpAqrM?CGH>IJqEbgrZBE?fDEFGH>I
      sQ1XR4Rÿt;SQÿW3Y1X
      b@>ZEDBe>fAbCEZGH>I
      sS;u;4ÿW9RV;2
      Nv?MIAbBFMfbq>fGH>I
      U39ÿW934\39:
      q>?@B?@?CDEFGH>IJw>IKB?@?CDEFGH>IJALaMDALbCB?@?CDEFGH>IJxyAMbBAHaGH>`?qC?MzAGH>IJH?AMbB?@?CDEFGH>IJHp>{p>B?@?CDEFGH>IJHp>{p>BAHaGH>`?qC?MzAGH>I
      64d9;|ÿ}1]XÿW]914
      E{@`?EfBz>?ZbGH>I
      ~7ÿ[Y14ÿc19V14R2
      ?gE?IEfMbBe>fAbCEZGH>IJfEaMHpDABe>fAbCEZGH>I
      }1]Xÿc;XV2
      {gADIbBIFAGH>I
      ;X2;Yÿc]:Q;2tX1]V
      pg`@gAbrDE`IBqEaqDEFGH>I
      [3\;9Sÿ7ÿc]9
      ?g`?B@Mrb>fC`ffGH>I
      64d9;|ÿÿc]SS34
      Cg`qq>fB?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>I
      [1Q1;Xÿ7ÿh291;X
      ?Mb?EADBrEpA?DEFGH>IJ@AM@Afr?>CBrEpA?DEFGH>I
      sS;u;ÿ~RQ1;Xÿ03dX3|2R
      be>CD>FbpMB?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>IJN`bEf B?@?CDEFGH>I
      64d9;|ÿP7ÿ03Q4234
      fC?AFG<>gfb>fBE?f>DC{>?qA?GH>I
      P7ÿPQ1dÿ03Q4234
      HgECeB?@?CDEFGH>I
      8914R2ÿ}1]Xÿ191V
      apE?EIB?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>I
      14R;Xÿ[RQ19dÿ1934
      CpE?>fBpE?>fDDHGH>IJH@>>CBpE?>fDDHGH>IJrg>DD>FADDBpE?>fDDHGH>I
      URV3SQYÿ7ÿ1S2R^^
      pEqbMaaqBrEDDE?Cb{Eg?GH>I
      03Q4ÿ~ÿ;XX;Y
      epADDAZB?@?CDEFGH>I
      62QX;Yÿ~7ÿ;XXY
      EpADDZB?@?CDEFGH>IJKL=MDALNOB?@?CDEFGH>IJADDZyvyOBAHaGH>`?qC?MzAGH>I
      ~RQ1;Xÿ7ÿRQXR4;
      IMHgEADGpMHgDMfABI>?@EfDAFMbGH>I
      9RÿRV
      A?MHGpMIBCEzMb{>DpGH>I
      VRXYÿs7ÿRVV;XV14
      AIMDZGpMIIADIEfBI>?@EfDAFMbGH>I
      R3X;ÿ1u1XX;;
      fDEzEDDAABrA?IEfqErEHH>GH>IJbabA?zMHABrA?IEfqErEHH>GH>I
      P39;Yÿ64SQ34Yÿ;;
      HEDAABe>fAbCEZGH>I
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      012345ÿ74895ÿ:;9
      <=>?@A<BCD=<EFGHIJKLMAA<DN@A<BCD=<EFGHI
      O84;P9ÿQÿ:;5513
      =>RR=C@=>RHL>HFGHIJRLHIKSH?@=>RHL>HFGHIJLHT<?@=>RHL>HFGHI
      U;9VÿQWÿ:;X
      R=>M@DTDN=<EFGHIJYZ[>=CZ\]@DTDN=<EFGHI
      ^PXV18_ÿOÿO89_`;31a
      NI<?Sb>C=N@=I?Tc=<EFGHI
      dPe9ÿfÿOgh8``43i
      jHL?FIGG<bbDCk@RMGBCDC==>SFGHIJSMS<?FACGBCD@RMGBCDC==>SFGHI
      :8X48ÿQXVe3_ÿOgl811i
      =<MD<FIG?<==k@IHDT<?=CE>SFGHIJG<DH=CFTD>bb>?@IHDT<?=CE>SFGHI
      Ogl33_ÿm8118g3ÿnÿlX4;go
      BSGL?C>NCD@IG?CCS=<EFGHI
      f489g;_gPÿdÿO3p;8
      [qCj><@DTDN=<EFGHIJCZb>=CZSN@DTDN=<EFGHI
      0a8rÿsWÿO;1134
      <N<IFI>==CD@HDD>GBFGHIJNGI<?<T>?T<RRHD?CkSHbb>GC@CGbFGHMDRND>tCFGHI
      084P9ÿfWÿO;934
      <<DH?FI>?CD@<D?H=NKHDRCDFGHI
      dP985e89ÿuWÿO;_9i
      I>S?k@IIIAFGHIJR>bb<?k@IIIAFGHIJR>bb<?k@CGbFGHMDRND>tCFGHIJI>S?k@CGbFGHMDRND>tCFGHI
      ^8v;aÿmÿO;5ge311
      N<t>NI@DTDN=<EFGHIJS=<?NDk@DTDN=<EFGHIJCZb>=CZSN@DTDN=<EFGHI
      dPe9ÿwÿO;5ge311
      jI>RGLC==@R<bR=<EFGHIJxyNHt>G>G@R<bR=<EFGHIJCECD?CD@R<bR=<EFGHIJzxYZ]HGBCRZ{SS>SR@R<bR=<EFGHI
      UePr8_ÿlÿO;5ge311
      IKNMbbk@jH?CSN<kFGHI
      73P``43iÿdÿOPX1
      IHM=@IIIAFGHIJR>bb<?k@IIIAFGHIJR>bb<?k@CGbFGHMDRND>tCFGHIJIHM=@CGbFGHMDRND>tCFGHI
      0a4;3993ÿO84;3ÿf34484PÿOX31134
      <bIMC==CD@jH?CSN<kFGHI
      s433ÿOX4|ei
      AIMDKLk@HDD>GBFGHIJNGI<?<T>?T<RRHD?CkSHbb>GC@HDD>GBFGHI
      s4;89ÿ}ÿOX4|ei
      IMDKLk@IIIAFGHIJR>bb<?k@IIIAFGHIJIMDKLk@CGbFGHMDRND>tCFGHIJR>bb<?k@CGbFGHMDRND>tCFGHI
      dP_3|eÿfÿOX448i
      IMDD<k@IIIAFGHIJR>bb<?k@IIIAFGHIJR>bb<?k@CGbFGHMDRND>tCFGHIJIMDD<k@CGbFGHMDRND>tCFGHI
      ^89;3113ÿ~WÿOi34_
      ]qkCDS@DTDN=<EFGHIJNIkCDS@CGbFGHMDRND>tCFGHIJCZb>=CZSN@DTDN=<EFGHI
      ~e84P9ÿ:3;Veÿl3113_
      C==CSS@SM==GDHIFGHI
      s4;89ÿu854;goÿhP99P4
      AKH@S<?RC?cLMTLCSFGHIJCIK@S<?RC?LMTLCSFGHIJS=<@S<?RC?cLMTLCSFGHI
      :Xg8_ÿf433r89ÿ15_
      =H=RS@DTDN=<EFGHIJYZ[>=CZ\]@DTDN=<EFGHIJ=H=RS@CGbFGHMDRND>tCFGHI
      ~53v39ÿm8i93ÿu3|;ge
      SRCtCK@DTDN=<EFGHIJYZ[>=CZ\]@DTDN=<EFGHI
      ^89;31ÿdWÿu`3``3428Xr
      NKbCbbCDA<MI@DTDN=<EFGHIJYZ[>=CZ\]@DTDN=<EFGHI
      }8439ÿu;3_18oÿuPe1r899
      B<DC?FKHL=I<??@IHDT<?=CE>SFGHI
      ~848ÿsWÿuP1ige4P9
      SKH=kGLDH?@DTDN=<EFGHIJYZ[>=CZ\]@DTDN=<EFGHI
      ^8v;aÿO8311ÿd8r3_ÿw3;9
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      012345ÿ789:12;<ÿ=5>?3>
      @ABCDECFGHIBAJHKL@EM
      N53OO25PÿQRÿ=S;;T
      UVAWXXYFVECBYDHZL@EM[DE@IBXCEAX\BHYXFVECBYDHZL@EM
      ]1225>ÿQÿ=3^^S>T
      XBD_FAUADJHKL@EM
      `S89154ÿQRÿ=a;;S>b52
      MW@\HBJLAcXXWCUBAFXc@IBABJJWYL@EM
      783;;ÿdRÿ7895S>^52b
      YY@\BWCGBAUFVECBYDHZL@EM
      7;5e5>ÿ7Rÿ789345T
      YY@\EJBYFMKBL@EM
      f5eS>ÿ795>ÿ78S121>S
      IY@WHAHCWFAUADJHKL@EM[gh@WHAHCWFB@iL@EcAXDAWjBL@EM[klmWJBlhnFAUADJHKL@EM[XDBjAWBYFAUADJHKL@EM
      oS8;32S1ÿpP>>ÿ75221>S
      jJYBAAHCWFGMDJJ@L@EM
      qSrS>bÿ79S
      ZWsWCULY\WFHACEJD_EAXBAL@EM
      f1tS4ÿu41S>5ÿ79S54?T
      Y\WBJDYIHFYcJJ@AEML@EM
      Q3T9a1ÿvRÿ79S>^23;
      VEY\cHLY\WCGAEXFDHjWY_EJIL@EM
      Q5TTS81ÿw144Pÿ79S>>5OS54?
      VY\WCCBiWBJDFAUADJHKL@EM[klmWJBlhnFAUADJHKL@EM[x\AWYXxFAUADJHKL@EM[yh\WCCBiWBJDFB@iL@EcAXDAWjBL@EM
      ]3ab41TÿpRÿ79Se54P
      DY\WjBJZFGHIBAJHKL@EM
      z1>>19ÿ̀Rÿ7tS;9
      \HCCH\LYMWX\FXc@IBABJJWYL@EM[YcYHCLGB@IBAFXc@IBABJJWYL@EM
      `12{ÿ7343t1>
      MHAIYFAUADJHKL@EM
      7;5|95>ÿNÿ73<S3
      YUYE}WEFVECBYDHZL@EM
      zS4412Pÿd2P>ÿ7;1{5t
      \YXHIBMFAUADJHKL@EM[klmWJBlhnFAUADJHKL@EM
      N532b5ÿ~Rÿ7;1t^3a4S?ST
      UYXHMGEcJWDWYFGHIBAJHKL@EM
      Q3>1;91>ÿ=ÿ7;255;52
      VECH\HCLYXABBXBAFDB@\BAXL@EM
      Q3T5|9ÿQRÿw1^1883ÿQ2R
      VXHGH@@EFGBAMHCXHGH@@EL@EM
      Q525tPÿ=ÿw51^522P
      XBHGBAAZVFGHJJHADY_H\AL@EM
      w1T91ÿvS8345;;5ÿw93t|T3>
      X\EM_YECXHYFYcJJ@AEML@EM
      =3^52;ÿ12?ÿw21OO32?
      AXAHiiEADF_EAXBAKAWU\XL@EM[XMHUJBZF_EAXBAKAWU\XL@EM
      utS4S1ÿ̀8f55ÿo1TT1443
      M@IBBjHYYHJJEBFGHJJHADY_H\AL@EM
      =3^52;ÿQRÿ1b3>52
      GEGFDKYJHKL@EM[GEGFKHUECBAJHKEiiW@BL@EM
      oS8;32ÿ~ÿ14;3>ÿÿQ2
      jHKHJXECFjEAZYL@EM[IVKEEJDAWDUBFjEAZYL@EM
      ]1>S54ÿ=a^S>ÿ1225>
      DKHAABCFGHIBAJHKL@EM
      w93t1Tÿ]1eS?ÿ1225>
      XEMLKHAABCFKHAABCXBA}WHCL@EM
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      012314ÿ617819
      :;<=><?@AB=:=;CDEF
      G7HÿIÿ61JJ
      K;<AA@;LMNOEMCDEF
      P9Q7HÿRSÿ61QH2T1QH
      A?L=MC;<LMNO<LM@K=>LNUE:VCDEFWNX=M=Y<CD=?>=Z=:@K=>LNUE:VCDEFW<DBCDOCU=U<?N@K=>LNUE:VCDEF
      [Q3794ÿ\Sÿ6Q33Q7]2
      ;L::L=FNX@N^::D?EFCDEF
      P9QTT7H4ÿ\79Q1ÿ6Q32_H
      ;L:NEMAF@A=::=?KNU=X?CDEF
      `Q33ÿ6QHT19
      Z;LMO<?@E??LDVCDEFWKDF=M=aLMa=OOE?M<YNEBBLD<@E??LDVCDEF
      bQc_31ÿd1H1ÿ6__e2
      MLDE:<C;EEKN@LD<FL::<?CDEFWOXY?f=CNVEBL<:K@LD<FL::<?CDEF
      \Qcg713ÿ̀SÿhJQ1iQ1Hÿjÿ̀9
      FfAL<aL<M@O=BO:=;CDEFW=E><?:Y@O=BO:=;CDEFWD:<kKEDV<Ok=NNLNO@O=BO:=;CDEF
\7Hl73ÿb_TQc1ÿ0Q2T
mX<ÿBE::E;LMaÿLNÿOX<ÿ:LNOÿEBÿ=OOE?M<YNÿ;XEÿ=?<ÿH_TÿEMÿOX<ÿ:LNOÿOEÿ?<D<L><ÿ<oF=L:ÿMEOLD<NÿBE?ÿOXLNÿD=N<ÿp;XEÿOX<?<BE?<ÿ?<q^L?<ÿF=M^=:ÿMEOLDLMarCÿsE^ÿF=Yÿ;LNXÿOEÿ^N<ÿYE^?
FE^N<ÿOEÿN<:<DOÿ=MKÿDEUYÿOXLNÿ:LNOÿLMOEÿYE^?ÿ;E?KÿU?ED<NNLMaÿU?Ea?=FÿLMÿE?K<?ÿOEÿD?<=O<ÿMEOLD<NÿE?ÿ:=A<:NÿBE?ÿOX<N<ÿ?<DLUL<MONC
   tuvÿxyz{y|ÿ}~~z




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